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  8                                 UNITED STATES DISTRICT COURT
  9                              SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                                    CASE NO. 01cr1652 JM
                                                                    CIVIL NO. 07cv0496 JM
 11                              Plaintiff/Respondent,
               vs.                                                  ORDER DENYING MOTION TO
 12                                                                 VACATE; DENYING MOTION FOR
       VICTOR SAVCHENKO,                                            APPOINTMENT OF COUNSEL
 13
                                 Defendant/Petitioner.
 14
 15           On or about March 20, 2007 Defendant/Petitioner Victor Savchenko filed a Motion to Vacate,

 16   Set Aside or Correct his sentence pursuant to 28 U.S.C. §2255 and a motion for appointment of

 17   counsel to assist him in prosecuting his motion to vacate. The court denies both motions without

 18   prejudice as prematurely filed. Pursuant to an Ameline remand issued by the Ninth Circuit, Defendant

 19   is currently calendared for further proceedings before this court on July 20, 1987 as part of Petitioner’s

 20   direct appeal. Consequently, the motions are not yet ripe for adjudication.

 21           In sum, the motion to vacate pursuant to 28 U.S.C. §2255 and the motion for appointment of

 22   counsel are denied without prejudice as prematurely filed.

 23           IT IS SO ORDERED.

 24   DATED: May 31, 2007

 25
                                                               Hon. Jeffrey T. Miller
 26                                                          United States District Judge

 27   cc: All Parties

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                                                                                                 01cr1652/07cv0496
